











Opinion issued May 26, 2010
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO. 01-10-00375-CV




IN RE DAVID JAMES, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, David James, challenges the trial
court’s alleged failure to rule on his bill of review.                
We deny the petition for writ of mandamus.  All outstanding motions are
overruled as moot. 
Per Curiam&nbsp;
&nbsp;
Panel consists of Chief Justice Radack and Justices Bland and Sharp.  



